 Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.1 Filed 08/02/24 Page 1 of 24




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN

NOVO NORDISK A/S AND NOVO
NORDISK INC.,

                Plaintiffs,                          Case No. 1:24-cv-799
        v.
DTG II, PLC, d/b/a BEYONDMD,

                Defendant.



                                          COMPLAINT

        Plaintiffs Novo Nordisk A/S (“NNAS”) and Novo Nordisk Inc. (“NNI”) (collectively,

“Plaintiffs” or “Novo Nordisk”), by and through their attorneys, Covington & Burling LLP, file

their complaint against DTG II, PLC, d/b/a beyondMD (“Defendant”) for trademark infringement,

false advertising, and unfair competition, and seek injunctive and other relief. Plaintiffs allege as

follows, on actual knowledge with respect to themselves and their own acts, and on information

and belief as to all other matters.

                                        INTRODUCTION

        1.      Novo Nordisk is a healthcare company with a 100-year history of innovation in

developing medicines to treat serious chronic diseases like diabetes and obesity.

        2.      The development of semaglutide is an example of Novo Nordisk’s commitment to

innovation for people living with chronic diseases. Semaglutide is the foundational molecule that

serves as the primary ingredient for Novo Nordisk’s three prescription-only medicines approved

by the Food and Drug Administration (“FDA”): Ozempic® (semaglutide) injection and Rybelsus®

(semaglutide) tablets for adults with type 2 diabetes and Wegovy® (semaglutide) injection for

chronic weight management.



                                                 1
 Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.2 Filed 08/02/24 Page 2 of 24




       3.      Novo Nordisk is the only company in the United States with FDA-approved

medicines containing semaglutide. Novo Nordisk is also the only company authorized to identify

its FDA-approved semaglutide medicines using the trademarks Ozempic®, Wegovy®, and

Rybelsus®. The FDA has not approved any generic versions of semaglutide. To the contrary, the

FDA has sent warning letters to companies which claimed that their Unapproved Products have

the “same active ingredient as Ozempic, Rybelsus, and Wegovy,” noting that the Ozempic and

Wegovy medicines are currently the only “two injectable semaglutide products FDA‐approved for

the U.S. market.”1

       4.      This is an action brought pursuant to the Lanham Act, 15 U.S.C. §§ 1051 et seq.,

related state laws, and the common law arising out of Defendant’s infringement of Plaintiffs’ rights

in their Ozempic® and Wegovy® marks and Defendant’s acts of false advertising and unfair

competition.

       5.      Defendant uses Novo Nordisk’s Ozempic® and Wegovy® marks to market and sell

to patients compounded drug products that purport to contain semaglutide. Despite such

compounded drug products having not been evaluated by the FDA for their safety, effectiveness,

or quality, Defendant falsely and misleadingly represents to patients that its products are FDA-

approved or the same as, or equivalent to, Novo Nordisk’s FDA-approved semaglutide medicines.

       Defendant’s conduct is likely to confuse and deceive patients into mistakenly believing

that they are purchasing authentic Novo Nordisk medicines or medicines that have been evaluated

by the FDA, studied in clinical trials, and deemed safe and effective.




1
  FDA – Warning Letter to Ozempen.com, MARCS-CMS 684435 — JUNE 24, 2024,
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
letters/ozempencom-684435-
06242024#:~:text=WARNING%20LETTER&text=As%20discussed%20below%2C%20FDA%20has,new%20drug
s%20and%20misbranded%20drugs.


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 Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.3 Filed 08/02/24 Page 3 of 24




                                           THE PARTIES

        6.      Plaintiff NNAS is a corporation organized and existing under the laws of the

Kingdom of Denmark and has its principal place of business in Bagsværd, Denmark.

        7.      Plaintiff NNI is a corporation organized and existing under the laws of Delaware

and has its principal place of business in Plainsboro, New Jersey.

        8.      NNI promotes, offers, and/or sells Novo Nordisk’s Ozempic® and Wegovy®

medicines throughout the United States, including in this District. NNAS has granted to NNI

exclusive rights to market, advertise, promote, offer for sale and sell Ozempic® and Wegovy®

medicines in the United States.

        9.      Defendant DTG II, PLC, d/b/a beyondMD is a Michigan Domestic Professional

Limited Liability Company with a registered business address at 811 East Kent Road, Greenville,

Michigan 48838 in this judicial district. Defendant sells and promotes compounded drug products

that purport to contain semaglutide and that are not approved by the FDA (“Unapproved

Compounded Drugs”). Defendant uses the Ozempic® and Wegovy® marks in its advertising and

promotion of Unapproved Compounded Drugs that are neither Ozempic® nor Wegovy® medicines.

                                  JURISDICTION AND VENUE

        10.     The Court has subject matter jurisdiction over the Lanham Act causes of action

pleaded herein pursuant to 35 U.S.C. § 1121 and 28 U.S.C. § 1338(a). The Court has supplemental

jurisdiction over the state and common law causes of action pleaded herein pursuant to 28 U.S.C.

§ 1338(b).

        11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant

operates in this District, manufactures and/or sells its compounded drug products that purport to

contain semaglutide in this District, and otherwise conducts business in this District. Defendant is

subject to personal jurisdiction in this District.


                                                     3
 Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.4 Filed 08/02/24 Page 4 of 24




          NOVO NORDISK’S FDA-APPROVED SEMAGLUTIDE MEDICINES
           AND OZEMPIC®, WEGOVY®, AND RYBELSUS® TRADEMARKS

       12.       Plaintiffs use the trademarks “Ozempic,” “Wegovy,” and “Rybelsus” to identify

and promote the FDA-approved Ozempic®, Wegovy®, and Rybelsus® medicines. T h e Ozempic®,

Wegovy®, and Rybelsus® medicines are sold and marketed in the United States by NNAS’s indirect,

wholly-owned subsidiary, NNI.

       13.       The Ozempic® medicine is indicated for adults with type 2 diabetes to improve

blood sugar (glucose), along with diet and exercise. Ozempic® also lowers the risk of major

cardiovascular events such as stroke, heart attack, or death in adults with type 2 diabetes and known

heart disease.

       14.       The Wegovy® medicine is indicated to reduce excess body weight and maintain

weight reduction long term in adults and children aged ≥ 12 years with obesity, and some adults

with overweight and weight-related medical problems, along with a reduced calorie diet and

increased physical activity. The Wegovy® medicine is also indicated, with a reduced calorie diet

and increased physical activity, to reduce the risk of major adverse cardiovascular events such as

“cardiovascular” death, heart attack, or stroke in adults with known heart disease and with either

obesity or overweight.

       15.       The Rybelsus® medicine is indicated for adults with type 2 diabetes to improve

blood sugar (glucose), along with diet and exercise.

       16.       The Ozempic®, Wegovy®, and Rybelsus® medicines have been extensively studied

in clinical trials and are FDA-approved.

       17.       Each of the Ozempic®, Wegovy®, and Rybelsus® medicines has a unique safety

and efficacy profile which is detailed in its respective product label.



                                                 4
 Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.5 Filed 08/02/24 Page 5 of 24




       18.     The Ozempic®, Wegovy®, and Rybelsus® medicines are prescription-only

medicines that should only be prescribed in direct consultation with, and under the supervision of,

a licensed healthcare professional.

       19.     Novo Nordisk first adopted and used the Ozempic® mark at least as early as 2017,

and has used it continuously since that time.

       20.     The Ozempic® trademark is inherently distinctive.

       21.     Novo Nordisk has promoted, advertised, and marketed its prescription-only

medicine using the Ozempic® mark in many different channels, directed to physicians, other health

care professionals, and patients, including on the websites ozempic.com and novonordisk-us.com.

As a result of its use of the Ozempic® mark, NNAS owns valuable common law rights in and to

the Ozempic® mark.

       22.     Plaintiff NNAS is the owner of U.S. trademark registration number 4,774,881,

issued on July 21, 2015, for the mark Ozempic® for pharmaceutical preparations, in International

Class 5. A true and correct copy of Plaintiff NNAS’s registration for the Ozempic® mark is attached

hereto as Exhibit A.

       23.     Novo Nordisk first adopted and used the Wegovy® mark at least as early as 2021,

and has used it continuously since that time.

       24.     The Wegovy® trademark is inherently distinctive.

       25.     Novo Nordisk has promoted, advertised, and marketed its prescription-only

medicine using the Wegovy® mark in many different channels, directed to physicians, other health

care professionals, and patients, including on the websites wegovy.com and novonordisk-us.com.

As a result of its use of the Wegovy® mark, NNAS owns valuable common law rights in and to

the Wegovy® mark.




                                                5
 Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.6 Filed 08/02/24 Page 6 of 24




       26.     Plaintiff NNAS is the owner of (a) U.S. trademark registration number 6,585,492,

issued on December 14, 2021, for the mark Wegovy® for pharmaceutical preparations, in

International Class 5; and (b) U.S. trademark registration number 6,763,029, issued on June 21,

2022, for the mark Wegovy® in a stylized form for pharmaceutical preparations, in International

Class 5. True and correct copies of Plaintiff’s registrations numbers 6,585,492 and 6,763,029 for

the Wegovy® mark are attached hereto as Exhibit B and Exhibit C, respectively.

       27.     Novo Nordisk first adopted and used the Rybelsus® mark at least as early as 2018

and has used it continuously since that time.

       28.     The Rybelsus® trademark is inherently distinctive.

       29.     Novo Nordisk has promoted, advertised, and marketed its prescription-only

medicine using the Rybelsus® mark in many different channels, directed to physicians, other health

care professionals, and patients, including on the websites rybelsus.com and novonordisk-us.com.

As a result of its use of the Rybelsus® mark, NNAS owns valuable common law rights in and to

the Rybelsus® mark.

       30.     Plaintiff NNAS is the owner of (a) U.S. trademark registration number 5,682,853,

issued on February 26, 2019, for the mark Rybelsus® for pharmaceutical preparations, in

International Class 5. True and correct copies of Plaintiff’s registration number 5,682,853 for the

Rybelsus® mark are attached hereto as Exhibit D.

       31.     As a result of Novo Nordisk’s long use, promotion, and advertising of the

Ozempic®, Wegovy®, and Rybelsus® trademarks and medicines, the Ozempic®, Wegovy®, and

Rybelsus® marks are exclusively associated with Plaintiffs, serve to identify genuine Novo

Nordisk medicines, and are valuable assets of Novo Nordisk.

       32.     As a result of Novo Nordisk’s long use, promotion, and advertising of the




                                                6
    Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.7 Filed 08/02/24 Page 7 of 24




Ozempic®, Wegovy®, and Rybelsus® trademarks and medicines, the Ozempic®, Wegovy®, and

Rybelsus® trademarks are well-known, strong, and famous marks, and became such prior to any

of the acts of Defendant complained of herein.

              DEFENDANT’S SALE OF UNAPPROVED COMPOUNDED DRUGS

        33.     Novo Nordisk has not authorized Defendant to use its marks, has not provided

Defendant with Novo Nordisk’s FDA-approved semaglutide medicines, and does not sell the bulk

semaglutide in Novo Nordisk’s FDA-approved semaglutide medicines to any compounding

pharmacies from which it may be sourcing its Unapproved Compounded Drugs.

        34.     Defendant markets and sells to patients Unapproved Compounded Drugs that

purport to contain semaglutide and that are not approved by the FDA.

        35.     On information and belief, the Unapproved Compounded Drugs sold by Defendant

are made by compounding pharmacies, which deliver them either directly to patients or to

Defendant for administration or dispensing to patients.

        36.     The FDA defines compounding as a “practice in which a licensed pharmacist, a

licensed physician, or, in the case of an outsourcing facility, a person under the supervision of a

licensed pharmacist, combines, mixes, or alters ingredients of a drug to create a medication tailored

to the needs of an individual patient.”2

        37.     According to the FDA, “[c]ompounded drugs are not FDA-approved. This means

that FDA does not review these drugs to evaluate their safety, effectiveness, or quality before they

reach patients.”3

        38.     The FDA has further stated that compounded drugs “do not have the same safety,


2
  Human Drug Compounding, https://www.fda.gov/drugs/guidance-compliance-regulatory-information/human-
drug-compounding.
3
  Compounding Laws and Policies, https://www.fda.gov/drugs/human-drug-compounding/compounding-laws-and-
policies.


                                                  7
    Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.8 Filed 08/02/24 Page 8 of 24




quality, and effectiveness assurances as approved drugs. Unnecessary use of compounded drugs

unnecessarily exposes patients to potentially serious health risks.”4 As the FDA has explained,

“[c]ompounded drugs pose a higher risk to patients than FDA-approved drugs because

compounded drugs do not undergo FDA premarket review for safety, quality or effectiveness.

Compounded drugs should only be used for patients whose medical needs cannot be met by an

available FDA-approved drug.5

        39.      Based on data as of June 30, 2024, the FDA’s Adverse Event Reporting System

(FAERS) database includes 542 cases of adverse events associated with compounded

“semaglutide.”6 Of those cases, 388 were classified as “serious” adverse events, 124 reported

hospitalization, and ten involved deaths. This is more than twice the number of adverse events for

all compounded drugs in 2022. The FDA has received reports of adverse events, some requiring

hospitalization, related to overdoses from dosing errors associated with compounded

“semaglutide” products.7 In several instances, patients mistakenly administered five to 20 times

more than the intended dose of compounded “semaglutide.” The FDA believes the containers and

packaging used by compounders, including multidose vials and prefilled syringes, the varying

product concentrations, and the instructions accompanying the compounded drug contribute to the

potential medical errors. A previous publication from the Journal of the American Pharmacists

Association also highlighted administration errors where patients accidentally self-administered

4
  Compounding and the FDA: Questions and Answers, https://www.fda.gov/drugs/human-drug-
compounding/compounding-and-fda-questions-and-answers.
5
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated with Compounded
Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-
providers-compounders-and-patients-dosing-errors-associated-
compounded?utm_medium=email&utm_source=govdelivery.
6
  FDA Adverse Event Reporting System (FAERS) Public Dashboard, https://www.fda.gov/drugs/questions-and-
answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-public-dashboard (last
visited July 31, 2024).
7
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated with Compounded
Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-
providers-compounders-and-patients-dosing-errors-associated-compounded.


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 Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.9 Filed 08/02/24 Page 9 of 24




doses of compounded “semaglutide” up to 10 times greater than the intended amount.8

        40.      FDA has issued guidance on “Medications Containing Semaglutide Marketed for

Type 2 Diabetes or Weight Loss,” which provides that: (1) “compounded drugs are not FDA-

approved or evaluated for safety and effectiveness”; and (2) “FDA has received adverse event

reports after patients used compounded semaglutide. Patients should not use a compounded drug

if an approved drug is available to treat a patient. Patients and health care professionals should

understand that the agency does not review compounded versions of these drugs for safety,

effectiveness, or quality.”9

           DEFENDANT’S FALSE ADVERTISING IN CONNECTION WITH ITS
                 SALE OF UNAPPROVED COMPOUNDED DRUGS

        41.      Despite the foregoing, and well after NNAS’s first use and registration of its

Ozempic® and Wegovy® marks, Defendant has used Novo Nordisk’s Ozempic® and Wegovy®

trademarks to market and sell Unapproved Compounded Drugs purporting to contain

“semaglutide” that are neither Ozempic® nor Wegovy®, and has made false and misleading

representations to patients regarding the nature of its Unapproved Compounded Drugs.

        42.      Defendant has, for example, falsely advertised its Unapproved Compounded Drugs

by making statements that describe Ozempic® and Wegovy® but that are false or misleading when

in reference to Defendant’s Unapproved Compounded Drugs.

        43.      Defendant has claimed or implied that its Unapproved Compounded Drugs have

been approved by the FDA or have been reviewed by the FDA for safety, effectiveness, and

quality.


8
  Joseph E. Lambson et al, Administration Errors of Compounded Semaglutide Reported to a Poison Control
Center—Case Series, 63 J. Am. Pharmacists Assc’n 5 (2023), available at https://www.japha.org/article/S1544-
3191(23)00231-5/abstract.
9
  Medications Containing Semaglutide Marketed for Type 2 Diabetes or Weight Loss,
https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/medications-containing-
semaglutide-marketed-type-2-diabetes-or-weight-loss.


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Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.10 Filed 08/02/24 Page 10 of 24




       44.     Defendant has claimed or implied that its Unapproved Compounded Drugs contain

the same semaglutide that the FDA evaluated in the context of reviewing and approving Novo

Nordisk’s new drug applications for Wegovy®, Ozempic®, and Rybelsus®.

       45.     Defendant has claimed or implied that its Unapproved Compounded Drugs have

been subjected to clinical studies and trials, or have otherwise achieved certain therapeutic

outcomes attributable to Wegovy®, Ozempic®, and Rybelsus®.

       46.     Defendant has falsely and misleadingly claimed or implied that its Unapproved

Compounded Drugs are “generic” versions of Wegovy®.

       47.     On information and belief, Defendant has engaged in these unlawful practices to

attract customers and generate revenues and profits.

       48.     Novo Nordisk has no control over the nature, quality, or efficacy of the products

sold by Defendant, including the Unapproved Compounded Drugs.

       49.     Defendant promotes its Unapproved Compounded Drugs by offering a

membership-only “Prevail Weight Loss Program – Semaglutide” including on its website and

social media pages as reflected below:




                                               10
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.11 Filed 08/02/24 Page 11 of 24




       50.     Defendant falsely and misleadingly advertises that its Unapproved Compounded

Drug has been clinically tested, when in fact, on information and belief, the studies that it refers to

are of Plaintiffs’ FDA-approved semaglutide medicines:




       51.     Defendant falsely and misleadingly implies that its Unapproved Compounded

Drugs are equivalent to Wegovy® and are in fact cheaper than Plaintiffs’ FDA-approved and

clinically tested. semaglutide medicine:


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Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.12 Filed 08/02/24 Page 12 of 24




       52.    Defendant falsely and misleadingly claims that its Unapproved Compounded Drugs

are a “generic” form of Wegovy®, despite no generic existing for Plaintiffs’ FDA-approved

semaglutide medicines:




                                            12
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.13 Filed 08/02/24 Page 13 of 24




        53.      Defendant’s unauthorized use of the Ozempic® and Wegovy® trademarks is likely

to cause confusion, mistake, and deception, and infringes Plaintiffs’ established exclusive rights

in those trademarks.

        54.      Defendant’s false and misleading marketing is also likely to expose patients to

unnecessary risks. Patients who mistakenly believe Defendant to be offering Novo Nordisk’s

FDA-approved medicines, or equivalent thereto, are unlikely to understand the unique risks

associated with, or the lack of clinical trials or testing establishing the safety and effectiveness of,

Defendant’s Unapproved Compounded Drugs.10



10
  See, e.g., Dozens Say They Lost Eyesight After Routine Surgery Using Compounded Pharmacy Drugs, WFAA,
https://www.wfaa.com/article/news/do-not-publish-yet/287-5f002ed3-e110-4063-9959-a2e5f54b5097 (reporting
mistaken belief of patient taking a compounded drug that “every pill you take, every shot you take is tested.”).


                                                       13
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.14 Filed 08/02/24 Page 14 of 24




        55.     On information and belief, unless enjoined by this Court, Defendant will continue

to use the Ozempic® and Wegovy® marks and/or otherwise falsely advertise its products as

associated with or being Ozempic® and Wegovy®, all in violation of Plaintiffs’ rights.

                              FIRST CAUSE OF ACTION
                 Trademark Infringement in Violation of 15 U.S.C. § 1114(1)

        56.     Plaintiff NNAS realleges and incorporates by reference each of the allegations in

the preceding paragraphs of this Complaint as though fully set forth here.

        57.     Plaintiff NNAS’s Wegovy® marks are inherently distinctive, strong, valid, and

protectable trademarks owned by Plaintiff NNAS.

        58.     Plaintiff NNAS’s registration constitutes prima facie evidence of the validity of the

mark, of Plaintiff NNAS’s registration and ownership of the mark, and of Plaintiff NNAS’s

exclusive right to use the mark in commerce on or in connection with the goods identified in the

registration.

        59.     Plaintiff NNAS’s trademark registrations for its Wegovy® marks constitute prima

facie evidence of the validity of the marks, of Plaintiff NNAS’s registration and ownership of the

marks, and of Plaintiff NNAS’s exclusive right to use the mark in commerce on or in connection

with the goods identified in the registrations.

        60.     By virtue of its prior use and registration, Plaintiff NNAS has priority over

Defendant with respect to the use of the Wegovy® marks for pharmaceutical preparations sold in

the United States.

        61.     Defendant uses the Wegovy® marks in connection with the sale, advertising, and

promotion of Unapproved Compounded Drugs purporting to contain semaglutide, including by

advertising a “generic Wegovy” product despite there being no generic form of Plaintiffs’ FDA-

approved semaglutide medicines.



                                                  14
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.15 Filed 08/02/24 Page 15 of 24




       62.     Defendant’s use in commerce of the Wegovy® marks is likely to cause confusion,

to cause mistake, or to deceive with respect to Plaintiff NNAS’s identical marks.

       63.     The above-described acts of Defendant constitute infringement of registered

trademarks in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1), entitling Plaintiff

NNAS to relief.

       64.     Defendant has unfairly profited from its trademark infringement.

       65.     By reason of Defendant’s acts of trademark infringement, Plaintiff NNAS has

suffered damage to the goodwill associated with its marks.

       66.     Defendant’s acts of trademark infringement have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiff NNAS, its federally registered trademarks and

the valuable goodwill associated with those trademarks.

       67.     Defendant’s acts of trademark infringement have irreparably harmed, and if not

enjoined, will continue to irreparably harm the interests of the public in being free from confusion,

mistake, and deception.

       68.     By reason of Defendant’s acts, Plaintiff NNAS’s remedies at law are not adequate

to compensate for the injuries inflicted by Defendant. Accordingly, Plaintiff NNAS is entitled to

entry of preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116.

       69.     By reason of Defendant’s willful acts of trademark infringement, Plaintiff NNAS

is entitled to disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble

damages, and costs under 15 U.S.C. § 1117.

       70.     This is an exceptional case, making Plaintiff NNAS eligible for an award of

attorneys’ fees under 15 U.S.C. § 1117.




                                                 15
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.16 Filed 08/02/24 Page 16 of 24




                           SECOND CAUSE OF ACTION
      Trademark Infringement, False Designation of Origin, and Unfair Competition
                       in Violation of 15 U.S.C. § 1125(a)(1)(A)

       71.     Plaintiffs reallege and incorporate by reference each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth here.

       72.     Defendant uses the Wegovy® marks in commerce in connection with Defendant’s

goods and services and in commercial advertising and promotion of its goods and services.

       73.     Defendant uses the Wegovy® marks in commerce in a manner that is likely to cause

confusion, or to cause mistake, or to deceive the relevant public into believing that Defendant’s

goods or services are authorized, sponsored, approved by, or otherwise affiliated with Plaintiffs,

with Plaintiffs’ genuine Wegovy® medicines, and/or with the Wegovy® marks.

       74.     The above-described acts of Defendant constitute infringement of the Wegovy®

marks and use of false designations of origin in violation of Section 43(a)(1)(A) of the Lanham

Act, 15 U.S.C. § 1125(a)(1)(A), entitling Plaintiffs to relief.

       75.     Defendant has unfairly profited from the actions alleged.

       76.     By reason of the above-described acts of Defendant, Plaintiffs have suffered

damage to the goodwill associated with the Wegovy® trademarks.

       77.     The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs, the Wegovy® trademarks, and the valuable

goodwill associated with the trademarks.

       78.     The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from confusion,

mistake, and deception.

       79.     By reason of Defendant’s acts, Plaintiffs’ remedies at law are not adequate to




                                                  16
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.17 Filed 08/02/24 Page 17 of 24




compensate for the injuries inflicted by Defendant. Accordingly, Plaintiffs are entitled to entry of

preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116.

       80.     Because the above-described acts of Defendant are willful, Plaintiffs are entitled to

disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble damages, and

costs under 15 U.S.C. § 1117.

       81.     This is an exceptional case, making Plaintiffs eligible for an award of attorneys’

fees under 15 U.S.C. § 1117.

                               THIRD CAUSE OF ACTION
                Defendant’s False and Misleading Advertising and Promotion
                         in Violation of 15 U.S.C. § 1125(a)(1)(B)

       82.     Plaintiffs reallege and incorporate by reference each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth here.

       83.     Defendant’s practices, as described in this Complaint, constitute unfair competition

and false advertising in violation of Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C.

§ 1125(a)(1)(B).

       84.     Defendant has violated the Lanham Act by using false or misleading descriptions

of fact and false or misleading representations of fact in its commercial advertising or promotion

that misrepresent the nature, characteristics, and/or qualities of Defendant’s business practices and

products, as set forth above.

       85.     Defendant has also engaged in other false or misleading advertising and promotion

intended to assure patients that Defendant’s practices are lawful. On information and belief,

Defendant provides patients who purchase Defendant’s Unapproved Compounded Drugs (or

whom Defendant is trying to persuade to purchase its drugs) information that makes several false

or misleading statements, including those described herein and in the exhibits hereto:




                                                 17
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.18 Filed 08/02/24 Page 18 of 24




       86.     The above-described acts of Defendant, if not enjoined by this Court, are likely to

deceive members of the general public.

       87.     The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs.

       88.     The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from confusion,

mistake, and deception.

       89.     By reason of Defendant’s acts as alleged above, Plaintiffs have suffered and will

continue to suffer injuries, including injury to Plaintiffs’ business reputation. However, Plaintiffs’

remedies at law are not adequate to compensate for all the injuries inflicted by Defendant.

Accordingly, Plaintiffs are entitled to entry of preliminary and permanent injunctive relief

requiring Defendant to cease its false and misleading advertising and promotion and unfair

competitive practices.

       90.     Because the above-described acts of Defendant are willful, Plaintiffs are entitled to

disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble damages, and

costs under 15 U.S.C. § 1117.

       91.     This is an exceptional case, making Plaintiffs eligible for an award of attorneys’

fees under 15 U.S.C. § 1117.

                              FOURTH CAUSE OF ACTION
                     Unfair Competition in Violation of the Common Law

       92.     Plaintiffs reallege and incorporate by reference each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth here.

       93.     The above-described acts of Defendant constitute common law unfair competition.

       94.     The above-described acts of Defendant unfairly and wrongfully exploit Plaintiffs’



                                                 18
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.19 Filed 08/02/24 Page 19 of 24




trademark, goodwill, and reputation.

       95.      By reason of the above-described acts of Defendant, Plaintiffs have suffered

damage to the goodwill associated with the Ozempic® and Wegovy® trademarks.

       96.      The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs and the Ozempic® and Wegovy® trademarks.

       97.      The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from confusion,

mistake, and deception.

       98.      By reason of Defendant’s acts, Plaintiffs’ remedies at law are not adequate to

compensate for the injuries inflicted by Defendant. Accordingly, the Court should enter

preliminary and injunctive relief, in addition to awarding disgorgement of Defendant’s profits

(enhanced at the Court’s discretion) and corrective advertising costs to NNAS.

                               FIFTH CAUSE OF ACTION
                    Deceptive and Unfair Trade Practices in Violation of
             The Michigan Consumer Protection Act, M.C.L.A §§ 445.903, 445.911

       99.      Plaintiffs reallege and incorporate by reference each of the allegations in the

preceding paragraphs of this Complaint as though fully set forth here.

       100.     The above-described acts of Defendant constitute unfair methods of competition,

and/or unconscionable, deceptive, or unfair acts or practices in violation of the laws of the State of

Michigan.

       101.     Specifically, the above-described acts of Defendant cause a probability of

confusion or misunderstanding as to the source, sponsorship, approval, or certification of goods;

constitute representations that Defendant’s Unapproved Compounded Drugs have sponsorship,

approval, characteristics, ingredients, uses, or benefits that they do not have; constitute




                                                 19
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.20 Filed 08/02/24 Page 20 of 24




representations that Defendant’s Unapproved Compounded Drugs are of a particular standard,

quality, or grade when they are not, in violation of M.C.L.A § 445.903(1)(a), (c), and (e).

       102.    By reason of Defendant’s acts, Plaintiffs have suffered loss and are entitled to

monetary and injunctive relief in accordance with M.C.L.A § 445.911.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs request judgment against Defendant as follows:

       1.      That the Court enter a judgment against Defendant that Defendant has:

            a. Infringed the rights of Plaintiff NNAS in its federally registered Wegovy®

               marks, in violation of 15 U.S.C. § 1114(1);

            b. Infringed the rights of Plaintiffs in the Wegovy® marks and engaged in unfair

               competition, in violation of 15 U.S.C. § 1125(a);

            c. Engaged in false and misleading advertising and promotion, in violation of 15

               U.S.C. § 1125(a);

            d. Engaged in unfair competition under the common law of            Michigan and the

               Michigan.

       2.      That each of the above acts was willful.

       3.      That the Court preliminarily and permanently enjoin and restrain Defendant and its

agents, servants, employees, successors, and assigns, and all other persons acting in concert with

or in conspiracy with or affiliated with Defendant, from:

            a. using the Ozempic® and Wegovy® marks in any manner, including but not limited

               to (i) use in any manner that is likely to cause confusion or mistake, to deceive, or

               otherwise infringe Novo Nordisk’s rights in the Ozempic® and Wegovy® marks in

               any way, or (ii) use in connection with the advertising, marketing, sale, or

               promotion of any Unapproved Compounded Drugs; and,

                                                20
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.21 Filed 08/02/24 Page 21 of 24




        b. advertising, stating, or suggesting that any Unapproved Compounded Drugs,

           including but not limited to any Unapproved Compounded Drugs that either are

           available, directly or indirectly, from or through Defendant or the use of which or

           access to which is facilitated by, or with the involvement of, Defendant:

                i. are, or contain, genuine or authentic Novo Nordisk Ozempic® or Wegovy®

                   medicines;

               ii. are sponsored by or associated with Novo Nordisk;

              iii. are approved by the FDA; have been reviewed by the FDA for safety,

                   effectiveness, or quality; or have been demonstrated to the FDA to be safe

                   or effective for their intended use;

              iv. achieve or have been shown or proven to achieve certain therapeutic results,

                   effects, or outcomes, including but not limited to by relying on or making

                   reference to clinical trial results for Novo Nordisk’s medicines;

               v. achieve or have been shown or proven to achieve therapeutic results, effects,

                   or outcomes similar or identical to Novo Nordisk’s medicines and/or are

                   interchangeable with or equivalent to genuine Novo Nordisk medicines;

              vi. are associated or connected in any way with Novo Nordisk or Novo

                   Nordisk’s medicines; or

              vii. contain any ingredient (including but not limited to semaglutide) that is

                   supplied by Novo Nordisk, is approved by the FDA, or is the same as any

                   ingredient in any Novo Nordisk medicine.

        c. engaging in any unfair competition with Plaintiffs; and/or

        d. engaging in any deceptive acts or practices.




                                             21
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.22 Filed 08/02/24 Page 22 of 24




        4.     That the Court require Defendant to disclose conspicuously and prominently in any

public-facing materials for any Unapproved Compounded Drugs, including but not limited to all

advertising, marketing, and promotional materials, that: (a) the Unapproved Compounded Drugs

are compounded drugs that have not been approved by the FDA; have not been reviewed by the

FDA for safety, effectiveness, or quality; and have not been demonstrated to the FDA to be safe

or effective for their intended use; (b) the processes by which the compounded drugs are

manufactured have not been reviewed by the FDA; and (c) FDA-approved medicines containing

semaglutide are available.

        5.     That Plaintiffs be awarded monetary relief in the form of disgorgement of

Defendant’s profits for Defendant’s trademark infringement, false advertising, and unfair

competition and that this monetary relief be trebled due to Defendant’s willfulness, in accordance

with the provisions of 15 U.S.C. § 1117 and any applicable state laws.

        6.     That the Court award disgorgement of Defendant’s profits resulting from

Defendant’s infringement of Plaintiffs’ rights and by means of Defendant’s unfair competition to

Plaintiffs.

        7.     That Defendant be ordered to account for and disgorge to Plaintiffs all amounts by

which Defendant has been unjustly enriched by reason of Defendant’s unlawful actions.

        8.     That Plaintiffs be awarded punitive damages by reason of Defendant’s willful

unlawful actions.

        9.     For pre-judgment and post-judgment interest on all damages.

        10.    That the Court award Plaintiffs their reasonable attorneys’ fees pursuant to 15

        11.    U.S.C. § 1117 and any other applicable provision of law.

        12.    That the Court award Plaintiffs the costs of suit incurred herein.




                                                22
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.23 Filed 08/02/24 Page 23 of 24




      13.    For such other or further relief as the Court may deem just and proper.

August 2, 2024                              Respectfully submitted,

                                            By: /s/ Jeffrey T. Gorcyca

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                                             23
Case 1:24-cv-00799-PLM-SJB ECF No. 1, PageID.24 Filed 08/02/24 Page 24 of 24




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 2, 2024, a copy of the foregoing document

in the above-captioned proceeding has been served through the electronic e-filing system upon the

attorneys listed below.

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                                               24
